Case 20-66657-pmb        Doc 25    Filed 06/15/20 Entered 06/15/20 15:28:44            Desc Main
                                   Document     Page 1 of 3


                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                               :      CHAPTER 11
                                                     :
TEMPLER ACQUISITIONS, LLC                            :      CASE NO. 20-66657-PMB
                                                     :
      DEBTOR.                                        :
___________________________________                  :
NANCY J. GARGULA,                                    :
UNITED STATES TRUSTEE,                               :
                                                     :
         MOVANT.                                     :
vs.                                                  :      CONTESTED MATTER
                                                     :
TEMPLER ACQUISITIONS, LLC,                           :
                                                     :
         RESPONDENT.                                 :


                                 NOTICE OF HEARING
                              ON MOTION TO DISMISS CASE


     PLEASE TAKE NOTICE that the United States Trustee filed a Motion to Dismiss Case
on May 28, 2020 (Docket No. 9).

        PLEASE TAKE FURTHER NOTICE that the court will hold a hearing on the Motion
at the United States Bankruptcy Court, Northern District of Georgia, Richard B. Russell Federal
Building, 75 Ted Turner Drive, SW, Courtroom 1202, Atlanta, Georgia 30303 on Wednesday,
June 24, 2020, at 9:30 a.m.

        Given the current public health crisis, hearings may be telephonic only. Please check
the “Important Information Regarding Court Operations during COVID-19 Outbreak” tab
at the top of the GANB Website prior to hearing for instructions on whether to appear in
person or by phone.
        Your rights may be affected by the court’s ruling on these pleadings. You should read
these pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy
case. (If you do not have an attorney, you may wish to consult one.) If you do not want the court
to grant the relief sought in these pleadings or if you want the court to consider your view, then
you and/or your attorney must attend the hearing. You may also file a written response to the
pleading with the Clerk at the address stated below, but you are not required to do so. If you file
a written response, you must attach a certificate stating when, how and on whom (including
addresses) you served the response. Mail or deliver your response so that it is received by the
Clerk at least two business days before the hearing. The address of the Clerk is, U.S. Bankruptcy


                                                1
Case 20-66657-pmb       Doc 25    Filed 06/15/20 Entered 06/15/20 15:28:44      Desc Main
                                  Document     Page 2 of 3


Court, Richard B. Russell Federal Building, 75 Ted Turner Drive, SW, 13th Floor, Atlanta,
Georgia 30303. You must also mail a copy of your response to the undersigned at the address
stated below.

       Dated this 15th day of June, 2020.

                                      NANCY J. GARGULA
                                      UNITED STATES TRUSTEE, REGION 21

                                      /s/ Shawna Staton
                                      Shawna Staton
                                      Georgia Bar No. 640220


United States Department of Justice
Office of the United States Trustee
Suite 362, Richard Russell Building
75 Ted Turner Drive, SW
Atlanta, Georgia 30303
(404) 331-4437, ext. 152
Shawna.P.Staton@usdoj.gov




                                               2
Case 20-66657-pmb        Doc 25    Filed 06/15/20 Entered 06/15/20 15:28:44             Desc Main
                                   Document     Page 3 of 3


                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                               :       CHAPTER 11
                                                     :
TEMPLER ACQUISITIONS, LLC                            :       CASE NO. 20-66657-PMB
      DEBTOR.                                        :
___________________________________                  :
NANCY J. GARGULA,                                    :
UNITED STATES TRUSTEE,                               :
      MOVANT.                                        :
vs.                                                  :       CONTESTED MATTER
                                                     :
TEMPLER ACQUISITIONS, LLC,                           :
     RESPONDENT.                                     :


                                CERTIFICATE OF SERVICE

        I hereby certify that I am over the age of 18 and that on June 15, 2020, I caused a true and
correct copy of the foregoing Notice of Hearing on Motion to Dismiss Case to be deposited in the
U.S. Mail with correct first class postage affixed, addressed as follows:

Cameron McCord
Chapter 11 Subchapter V Trustee
Jones & Walden LLC
699 Piedmont Ave NE
Atlanta, GA 30308-1400
Cameron McCord

Templer Acquisitions, LLC
221 Edwards Drive                                    U. S. Securities and Exchange Commission
Mableton, GA 30126                                   Office of Reorganization
                                                     Suite 900
Secretary of the Treasury                            950 East Paces Ferry Road, NE
15th & Pennsylvania Avenue, NW                       Atlanta, GA 30326-1382
Washington DC 20200

Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101-7346

                                                     /s/ Shawna Staton




                                                 3
